        Case 6:22-cv-00639-ADA Document 86 Filed 02/06/24 Page 1 of 1




                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS
                          WACO DIVISION
SVV TECHNOLOGY INNOVATIONS INC. §
                                §               CIVIL NO:
vs.                             §               WA:22-CV-00639-ADA
                                §               WA:22-CV-00640-ADA
ACER INC.                       §               WA:22-CV-00641-ADA

        ORDER RESETTING JURY SELECTION AND TRIAL
        IT IS HEREBY ORDERED that the above entitled and numbered cases are reset for
JURY SELECTION AND TRIAL in District Courtroom #1, on the Third Floor of the United
States Courthouse, 800 Franklin Ave, Waco, TX, on Monday, June 03, 2024 at 09:00 AM.

       IT IS SO ORDERED this 6th day of February, 2024.




                                          ______________________________
                                          ALAN D ALBRIGHT
                                          UNITED STATES DISTRICT JUDGE
